Case 2:18-cv-11524-MAG-DRG ECF No. 1-1 filed 05/15/18       PageID.11    Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


 SIEMENS PRODUCT LIFECYCLE
 MANAGEMENT SOFTWARE INC.,
                    Plaintiff,

 v.                                              Hon.
                                                 Case No.
 NUMERIC CONCEPT & DESIGN
 L.L.C.,
                    Defendant.


                                 INDEX OF EXHIBITS

Exhibit 1:   Certificate for Registration for Copyright Registration Number
             TXu 1-965-012, dated December 9, 2014
